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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

 GOOGLE, LLC,                                   )
                                                )
                       Petitioner,              )
                                                )
               v.                               )   C.A. No. 21-mc-419-MN
                                                )
 TERRIER SSC, LLC,                              )
                                                )
                       Respondent.              )

 GOOGLE, LLC,                                   )
                                                )
                       Petitioner,              )
                                                )
               v.                               )   C.A. No. 21-mc-440-UNA
                                                )
 BP FUNDING TRUST,                              )
                                                )
                       Respondent.              )

 GOOGLE, LLC,                                   )
                                                )
                       Petitioner,              )
                                                )
               v.                               )   C.A. No. 21-mc-443-UNA
                                                )
 AQUA LICENSING, LLC,                           )
                                                )
                       Respondent.              )

                                              ORDER

       WHEREAS, petitioner Google, LLC, has filed a motion to compel on an expedited basis

in each of the above-captioned cases (D.I. 1 in C.A. No. 21-419, D.I. 1 in C.A. No. 21-440, and

D.I. 2 in C.A. No. 21-443) (“the Motions”);

       THEREFORE, IT IS HEREBY ORDERED that:

       1. The respondents in each case shall file any response they wish to make to the Motions

           by NOON on Thursday, October 21, 2021; and
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      2. The petitioner shall serve a copy of this Order on the respondents and file a certificate

          of service by the close of business of the date of this order.




Dated: Monday, October 18, 2021
                                                     The Honorable Maryellen Noreika
                                                     United States District Judge




                                                2
